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                     IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEW MEXICO

SANTA FE ALLIANCE FOR PUBLIC HEALTH
AND SAFETY, ARTHUR FIRSTENBERG, and
MONIKA STEINHOFF,

             Plaintiffs,
vs.                                                    No. 1:18-cv-01209-KG-JHR

CITY OF SANTA FE, NEW MEXICO;
HECTOR BALDERAS, Attorney General of New
Mexico; and the UNITED STATES OF AMERICA,

             Defendants.



      ____________________________________________________________________

      OPPOSITION TO DEFENDANT UNITED STATES’ MOTION TO DISMISS
                   AND MEMORANDUM OF LAW IN SUPPORT
      ____________________________________________________________________



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                                        INTRODUCTION

       Plaintiffs’ First Amended Complaint (Doc. 19) (“FAC”) alleges facts that are more than

sufficient to allow the Court to conclude that the actions and policies of Defendant United States

(“Defendant”) in adopting and enforcing Section 704 of the Telecommunications Act of 1996

(“Section 704”) have deprived Plaintiffs of their most basic constitutional rights, including their

right to free speech, their right to their property, their right to move about freely, their right to

bodily integrity, and their right to a future on this Earth in this country. Plaintiffs have standing

to bring these claims, and Defendant does not possess sovereign immunity from these claims.

                        FACTUAL BACKGROUND OF SECTION 704

       Defendant’s dual contentions about the Federal Communications Commission (“FCC”)

—that the agency has no role in enforcing Section 704 (Motion to Dismiss (“Mot.”) at 5), and

that Plaintiffs’ only recourse for injuries is to petition the FCC for relief (Mot. at 21)—are

mutually contradictory. The fact that the FCC is the agency charged with enforcing Section

704’s mandates concerning (ostensibly) health despite the FCC having neither expertise nor

authority over matters of health is part of the regulatory scheme that has given rise to Plaintiffs’

constitutional challenges to that law. Section 704 is the cause both of Plaintiffs’ injuries and of

the lack of any possibility of a remedy for those injuries.

I.     The FCC Has No Authority over Health or Environment

       The FCC’s authorizing statute—the Communications Act of 1934—gives the FCC no

authority over health or the environment. It contains the word “environmental” nowhere else

than in Section 704. It contains the word “environment” nowhere. It does not use the word

“health” in connection with radio frequency (“RF”) radiation. Accordingly the FCC has



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repeatedly and consistently denied any expertise or authority over health and safety, see Inquiry

Concerning Biological Effects of Radio Frequency Radiation When the Use of Radio Frequency

Devices is Authorized, FCC 79-364, ¶ 20, 44 Fed. Reg. 37008, 37011 (June 25, 1979) (“The

Commission’s position is that it has neither the responsibility nor the authority to establish health

and safety radiation standards”); see also Guidelines for Evaluating the Environmental Effects of

Radiofrequency Radiation, ET Docket No. 93-62, Report and Order, ¶ 28, 11 FCC Rcd. 15123,

(Aug. 6, 1996) (“The Commission has stressed repeatedly that is not a health and safety agency”).

II.    The FCC’s Human Exposure Guidelines Are Neither Mandatory nor Enforceable

       In 1993, the FCC issued a Notice of Proposed Rule Making1 in which it proposed to

update its guidelines for human exposure to RF radiation. The guidelines were not mandatory—

the FCC did not have the authority to adopt mandatory standards—and did not ensure safety.

They were not exposure limits that the FCC’s licensees could not exceed. Rather, they were

procedural guidelines that functioned only as cutoff values for the filing of Environmental

Assessments (“EAs”), in compliance with the requirements of the National Environmental Policy

Act (“NEPA”). 2 Since it had no expertise in health, the FCC proposed to adopt existing

guidelines that had been developed by the committees of private organizations which were

composed largely of representatives of the telecommunications industry: the American National

Standards Institute, the National Council on Radiation Protection and Measurements, and the

International Radiation Protection Association. 3 The FCC’s guidelines protected only against

thermal effects, i.e. exposure levels that cause gross heating of the human body. FAC ¶¶ 18, 19.


1
  Notice of Proposed Rule Making, 8 FCC Rcd. 2849 (Apr. 8, 1993).
2
  42 U.S.C. § 4321 et seq., Pub. L. 91-190, 83 Stat. 852.
3
  8 FCC Rcd. at 2852-53.


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       Two years went by, and the FCC did not adopt new guidelines. In 1995 the Environmental

Protection Agency (“EPA”), which had both the authority and the mandate to develop regulations

for human exposure to non-ionizing (which includes RF) radiation,4 stepped in. EPA issued an

announcement on March 22, 1995 that it had completed Phase I of its regulatory program, that it

was beginning to circulate its draft RF exposure standards to other agencies for their comment,

and that it expected the standards to be finalized in early 1996. Phase 1, stated EPA, was going to

protect only against thermal effects, i.e. heating of the human body by RF radiation. EPA stated

explicitly that its Phase 1 regulations did not protect against “modulation, chronic exposure, [or]

nonthermal effects.”5 It stated that after the adoption of the Phase 1 standards, it was going to

take two years to develop Phase 2 of its regulations, which would protect against nonthermal

exposures and modulation effects.6 Since all cell phones transmit information in the form of RF

radiation modulated7 at low frequencies (FAC ¶ 35), and since EPA had previously stated “it is

not possible to assign a low intensity limit below which the exposures [to modulated RF

radiation] are without effect” (FAC ¶ 17), cell phones were potentially going to be illegal.

       At that time the Congressional bill that would became the Telecommunications Act of

1996 did not contain Section 704. The telecommunications industry was planning to begin

selling digital cell phones to the public the following year and to begin building a dense network

4
  Reorganization Plan No. 3 of 1970, 84 Stat. 2086, § 2(a)(3)(ii)(C) gave the EPA responsibility
for “development of criteria and standards” for certain functions of the Bureau of Radiological
Health (“BRH”). This included the functions of BRH’s Division of Environmental Radiation,
which had authority over “ionizing and nonionizing radiation.” 33 Fed. Reg. 19052.
5
  “Development of RF Radiation Exposure Guidelines,” Briefing for the Federal
Communications Commission, Office of Radiation and Indoor Air, U.S. Environmental
Protection Agency, March 21, 1995, https://ecfsapi.fcc.gov/file/1426270001.pdf, p. 4.
6
  Id., p. 5.
7
  In telecommunications, modulation is the process of varying one or more of the properties of a
high frequency carrier signal so that it carries a lower frequency informational signal.


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of cell towers throughout the United States so that the phones would work. To facilitate this,

Congress wrote EPA out of the picture and awarded preemptive authority over “the

environmental effects of radio frequency emissions”—which has been universally interpreted to

mean “health effects”—to an agency with no expertise in environment or health: the FCC.

Section 704 was added to the bill by the House Committee on Commerce on July 24, 1995.8 On

September 13, 1995, the Senate Committee on Appropriations deleted all funding for EPA’s

regulatory effort from the 1996 budget and wrote that “the Committee believes EPA should not

engage in EMF activities.”9 And on February 8, 1996, President Clinton signed into law the

Telecommunications Act, 10 of which Section 704 awarded preemptive authority over the

environment and ostensibly health to an agency with no expertise or authority in either area.

       Today the FCC still has no authority over health or environment, and Section 704 did not

confer any. Section 704 simply commanded the FCC that within 180 days it was to “complete

action” in ET Docket 93-62,11 which was the rulemaking that it had begun in 1993 in order to

update its procedural guidelines. Those guidelines were authorized under NEPA, not the

Communications Act. But, perversely, Section 704 also prohibited States and local governments

from regulating wireless facilities on the basis of their environmental effects, “to the extent” that

such facilities complied with the FCC’s guidelines12 which, however, were non-mandatory and

unenforceable. It was all smoke and mirrors. Henceforth States and local governments were no

longer permitted to set limits on radiation that were more stringent than the FCC’s limits which,

8
  House of Representatives Report No. 104-204.
9
  Senate Report No. 104-140. “EMF” stands for “electromagnetic fields” and includes RF
radiation.
10
   Pub. L. 104-104.
11
   Id., § 704(b). Section 704(b) was not incorporated into the Communications Act.
12
   47 U.S.C. § 332(c)(7)(B)(iv).


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however, were not enforceable. The result was a regulatory free-for-all and the public was left

without any protection at all.

         The disadvantage to the public is extreme. If a city nevertheless dares to protect its

citizens and denies a telecommunications company a permit for a cell tower in order to protect

the public health, the company is empowered by Section 704 to file suit “in any court of

competent jurisdiction,” which is required to “decide such action on an expedited basis,” or in

the alternative the company may “petition the FCC for relief.”13 However, if anyone in the public

is actually injured by a cell tower, that person may not petition the FCC for relief nor file suit in

any court whatsoever. Section 704 not only does not authorize such lawsuits, it has been

universally interpreted to preempt such lawsuits. See Stanley v. Amalithone Realty, Inc., 94

A.D.3d 140, 146 (N.Y. App. Div. 2012) (“Entertaining plaintiffs’ claims [for damages to health

and property by RF radiation from a cell tower] would require us to second guess the FCC's

standards and engage in our own form of judicial regulation of RF emissions”); Robbins v. New

Cingular Wireless PCS, LLC, 854 F.3d 315, 320 (6th Cir. 2017) (“Allowing RF-emissions-based

tort suits would … shift the power to regulate RF emissions away from the FCC and into the

hands of courts and state governments”); Jasso v. Citizens Telecom. Co. of California, Inc., 2007

WL 2221031 (E.D. Cal. 2007) (State tort claims by former Forest Service employees alleging

injuries from RF radiation including cancer and brain damage could not be brought against

operator of telecommunications facilities); Goforth v. Smith, 991 S.W.2d 579 (Ark. 1999) (State

tort claim could not be brought against operator of telecommunications facility). Yet the FCC’s

rules contain no procedure that allows an injured person to file a complaint with the FCC either.


13
     47 USC § 337(c)(7)(B)(v).


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There is not even a rule allowing anyone to petition the FCC to revoke a facility’s license for

exceeding the exposure limits, let alone for causing injury or death.

       On August 6, 1996, as commanded by Congress, the FCC issued its Report and Order in

ET Docket 93-62, adopting new RF exposure guidelines. 14 The FCC reiterated that the

guidelines are procedural only and unenforceable:

       As was true for the previous rules, there are no specific compliance requirements,
       as such. Under the Commission’s NEPA rules, applicants and licensees are
       required to submit an Environmental Assessment (EA) if they do not comply with
       our RF exposure guidelines...

       The applicant must indicate on its application that it meets the NEPA
       requirements, and therefore, does not exceed the RF radiation limits. This is
       usually done by checking a box on a form, which can be done by a clerical
       person.

Report and Order, pp. 78-79. Even this minimal paperwork is not required if a facility is

categorically excluded:

       [A] determination of compliance with the exposure limits in § 1.1310 or § 2.1093
       of this chapter (routine environmental evaluation), and preparation of an EA if the
       limits are exceeded, is necessary only for facilities, operations and transmitters
       that fall into the categories listed in table 1, or those specified in paragraph (b)(2)
       of this section. All other facilities, operations and transmitters are categorically
       excluded from making such studies or preparing an EA, except as indicated in
       paragraphs (c) and (d) of this section.

47 CFR § 1.1307(b)(1). For cell towers, the FCC categorically excluded all antennas that emit

less than 1000 watts of Effective Radiated Power and all towers that are more than 10 meters tall.

47 C.F.R. § 1.1307, Table 1, “Transmitters, Facilities and Operations Subject to Routine Environ-

mental Evaluation.” In practice, almost all facilities are excluded from compliance, because few

rooftop antennas emit more than 1000 watts, and most towers are more than 10 meters tall.

14
  47 C.F.R. § 1.1307, “Actions that may have a significant environmental effect, for which
Environmental Assessments (EAs) must be prepared.”


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III.     Actions by the FCC in Enforcing Section 704

         Although the FCC has no authority to enforce its exposure standards, it does enforce the

preemption provisions of Section 704. The FCC, as commanded by Congress, incorporated the

provisions of Section 704 into its own rules:

         The Telecommunications Act also provides for resolution of conflicts related to
         the regulation of RF emissions by the courts or by petition to the Commission.
         Accordingly, we are amending § 1.1307 of our rules to incorporate the provisions
         of Section 704 of the Telecommunications Act.

Report and Order, ¶ 166; 47 C.F.R. § 1.1307(e).

         In recent actions taken pursuant to its authority to enforce Section 704, the FCC has

removed what little zoning authority States and local governments had left over wireless

telecommunications facilities and stopped pretending that its putative human exposure guidelines

are protective of the public health, let alone have any legal force. In In re Use of Spectrum Bands

Above 24 GHz For Mobile Radio Services, GN Docket No. 14-177, Report and Order, ¶ 277,

FCC Rcd. 8014 (Jul 14, 2016), the FCC set power limits for millimeter waves (the frequencies

that will be used for 5G) so high15 that they do not even protect the public against shocks and

burns. FAC ¶ 20. Then, instead of requiring telecommunications companies to certify that

millions of small cells were going to exceed the FCC’s exposure guidelines, the FCC declared

that “small” wireless facilities in the public rights-of-way are not subject to NEPA. In re

Accelerating Wireless Broadband Deployment by Removing Barriers to Infrastructure

Development, WT Docket 17-79, Second Report and Order, ¶ 71, 2018 WL 1559856 (Mar. 30,

2018) (“[T]his decision removes small cells from the purview of the National Historic Preservation

Act and National Environmental Policy Act”). Then, the FCC imposed a 60-day (for antennas on

15
     75 dBm (30,000 watts) per 100 MHz of spectrum; codified in 47 C.F.R. § 30.202(a).


                                                  7
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existing utility poles) or 90-day (for antennas on new structures) “shot clock” within which local

governments must approve any application for multiple antennas in the public rights-of-way, no

matter how numerous the antennas: if an application is for 10,000 antennas on existing lampposts

on the streets and sidewalks of a city, that city has 60 days in which to approve all 10,000 antennas.

Id., Third Report and Order, 33 F.C.C.R. 9088, *59 (Sept. 27, 2018) (“If a single application

seeks authorization for multiple deployments… then the presumptively reasonable period of time

for the application as a whole is equal to that for a single deployment…”). All this is the result of

an unconstitutional law, Section 704, adopted in 1996, which deprives citizens of any right to

protect themselves from injury, prohibits their local governments from protecting them, denies

the injured access to the courts, and denies the injured any remedy for their injuries. No one has

been minding the store since 1996, and now the charade has been unmasked for all to see.

IV.    Previous Litigation Challenging Section 704

       In 1997, a coalition of more than 50 citizens groups and individuals and the

Communications Workers of America petitioned the Second Circuit Court of Appeals for review

of the FCC’s final rule in ET Docket 93-62. Cellular Phone Taskforce v. FCC, 205 F.3d 82

(2000). The Second Circuit ruled that the FCC did not abuse its discretion and upheld the

agency’s exposure guidelines. However, with respect to the present action which is the subject of

Defendant’s Motion to Dismiss, it is important to note what the Second Circuit did not do:

       •       The court did not rule on whether RF radiation harmed Petitioners. Cellular

Phone Taskforce was an appeal brought under the APA, not a civil complaint for violation of

fundamental rights. The evidentiary standards are different. In a rulemaking challenge, the FCC

need only provide a “rational explanation” for a court to uphold its rule. Federal Communications



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Commission v. WNCN Listeners Guild, 450 U.S. 582, 595 (1981). Under constitutional review,

for violation of fundamental rights, the standard is “strict scrutiny.” Seegmiller v. LaVerkin City,

528 F.3d 762, 771 (10th Cir. 2008) (citing Washington v. Glucksberg, 521 U.S. 702, 721 (1997)).

       •       The court did not analyze, and was not asked to analyze, whether “environmental”

means “health” in Section 704.

       •       The court did not address due process, free speech, the right to petition, or the

Takings Clause.

        Plaintiffs here are bringing these claims before a court for the first time. Plaintiffs are

among the millions of Americans who have been injured, driven from their homes, businesses

and cities, and killed by radiation from a steadily increasing density of cell towers and antennas

while being deprived of any remedy whatsoever, not because of the actions of their cities and

States in failing to protect them, but because Section 704 of the Telecommunications Act

prohibits their cities and States from protecting them, and deprives them even of the right to go

to court to seek a remedy for their injuries.

                                           ARGUMENT

I.     Plaintiffs Have Standing to Sue the United States

       To satisfy Article III’s standing requirements, Plaintiffs must show: (1) they have

suffered an “injury in fact” that is “(a) concrete and particularized and (b) actual or imminent,

not conjectural or hypothetical; (2) the injury is fairly traceable to the challenged action of the

defendant; and (3) it is likely, as opposed to merely speculative, that the injury will be redressed

by a favorable decision.” Friends of the Earth v. Laidlaw Envtl. Servs., 528 U.S. 167, 181 (2000).

       Defendant admits, as it must, that Plaintiffs’ First Amended Complaint satisfies the first



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prong of the standing requirement: Plaintiffs have shown injury in fact, and that further injury is

imminent. Defendant’s contentions as to traceability and redressability amount to the same

fallacious argument, i.e. that Plaintiffs’ injuries are traceable only to actions of the States, and are

redressable only by the States, not by the United States.

       Defendant’s assertion that Plaintiffs’ quarrel lies “with the State Defendants’ independent

land-use decisions” and can “only be redressed by an injunction against the State Defendants” is

nonsensical. (Mot. at 11, 13). The State Defendants are powerless to protect citizens, and courts

are without jurisdiction to entertain actions for injunctive relief, per the prohibitions contained in

Section 704. The United States cannot preempt States and local governments from regulating

wireless facilities, and at the same time say that Plaintiffs’ quarrel is with States and local

governments. Plaintiffs’ injuries have been caused directly by the action of the United States in

adopting Section 704 and by the FCC in enforcing it. Section 704 was and is intended to accelerate

the universal placement of wireless telecommunications facilities throughout the United States,

including in front of Plaintiffs’ homes and businesses, and Section 704 prohibits States and local

governments from interfering with this policy, including for health or environmental reasons.

Indeed, Defendant’s brief highlights “the Act’s national purpose of facilitating the growth of

wireless telecommunications,” while “limit[ing] the ability of state and local governments to

frustrate” that purpose (quoting 360 degrees Commc’ns Co. of Charlottesville v. Bd. of Sup’rs of

Albemarle Cty., 211 F.3d 79, 86 (4th Cir. 2000)). (Mot. at 3). Defendant’s suggestion that

Plaintiffs’ injuries can be redressed only “by an injunction against the State Defendants” fails

because this Court cannot grant such an injunction unless it also enjoins the enforcement of

Section 704—which, however, it cannot do unless the United States is named as a Defendant.



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       Contrary to Defendant’s assertion regarding the interpretation of “environment,” a

declaration that “environment” in Section 704 does not mean “health”16 would not only avoid the

serious questions as to the constitutionality of Section 704, FAC ¶ 152, but would immediately

restore to Plaintiffs their rights to life, liberty and property. Plaintiffs could then testify about

health without being penalized, their city government could protect them without the city being

sued, and Plaintiffs could go to court when they were injured. It is “settled doctrine that we avoid

constitutional questions whenever possible.” West v. Atkins, 487 U.S. 42, 48 n. 8 (1988).

       The joint effect of Section 704, the Wireless Consumer Advanced Infrastructure

Investment Act,17 and the amended chapter 27 of the Santa Fe City Code is not just to “permit”

but to mandate the universal placement of commercial facilities, known for half a century to be

dangerous to life and limb, FAC ¶ 1, on the streets and sidewalks in Santa Fe where people walk

and in front of their children’s bedroom windows. The United States’ contention that the land use

decisions of the City and State are “independent” of the constraints placed on them by Section

704 is similar to the City’s contention, in its own motion to dismiss (Doc. 21), that the actions of

private telecommunications companies are not constrained by the laws of New Mexico and Santa

Fe, and that such laws leave citizens “free” of interference with their constitutional rights. This is

like claiming that a person who has been confined in prison for the rest of his life is not deprived

of his freedom by the State but rather by the prison’s warden. “The actions of the State were part

of a causal chain resulting in the undoubted loss of [rights].” County of Sacramento v. Lewis, 523

U.S. 833, 856 (1998). The prime mover in the causal chain here is the United States.

16
  The Congressional Record contains no debate on Section 704 that could indicate the intent of
Congress. However, the word “health” does not appear in Section 704, nor in any committee
report nor in the Conference Report (H.R. Report 104-458) in connection with Section 704.
  NMSA 1978 § 63-9I (2018).


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       Defendant is engaging in sleight of hand when it alleges that Section 704 “preserves the

power of local zoning authority” (Mot. at 3). In fact the “five limitations” (Mot. at 3) on local

jurisdictions’ authority to regulate cell towers leave them no authority at all. The prohibition

against discriminating among providers, 47 U.S.C. § 332(c)(7)(B)(i)(I), means that if they approve

one cell tower they must approve every cell tower. The requirement to act on applications “within

a reasonable period of time,” id. § 332(c)(7)(B)(ii), has deprived localities of the ability to act on

applications at all. The prohibition against consideration of health and environment, id. §

332(c)(7)(B)(iv), has had the effect of mandating the erection of injurious facilities in residential

zones where people walk and next to their homes. The requirement that decisions denying

applications must be “supported by substantial evidence,” id. § 332(c)(7)(B)(iii), has virtually

prohibited local governments from denying any applications at all, especially with the sword of

Damocles hanging over them that is contained in Section 332(c)(7)(B)(v), which allows any

telecommunications company to sue a state or local government in “any court of competent

jurisdiction” for any alleged infraction of sections (i) through (iv) and provides that such lawsuit

shall be heard “on an expedited basis.”

       Plaintiffs note that courts err on the side of finding standing when, as here, First

Amendment violations are alleged, see Secretary of State of Md. v. Joseph H. Munson Co., 467

U.S. 947, (1984):

       Within the context of the First Amendment, the Court has enunciated other concerns
       that justify a lessening of prudential limitations on standing. Even where a First
       Amendment challenge could be brought by one actually engaged in protected
       activity, there is a possibility that, rather than risk punishment for his conduct in
       challenging the statute, he will refrain from engaging further in the protected
       activity. Society as a whole then would be the loser. Thus, when there is a danger of
       chilling free speech, the concern that constitutional adjudication be avoided whenever
       possible may be outweighed by society's interest in having the statute challenged.


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Id. at 956.

II.     The United States Has Waived Sovereign Immunity

        Plaintiffs bring this action under 28 U.S.C. § 1331 (federal question), and various courts,

including the Tenth Circuit, have ruled that the United States, pursuant to 5 U.S.C. § 702, has

waived sovereign immunity for all claims against it for non-monetary relief, specifically including

claims brought under 28 U.S.C. § 1331. See U.S. v. Murdock Mach. & Eng’g Co. of Utah, 81

F.3d 922, 929 n. 8 (10th Cir. 1996) (“Effective October 21, 1976, Congress amended Section(s)

10(b) of the Administrative Procedure Act (“APA”), 5 U.S.C. § 702, to provide a general waiver

of the government’s sovereign immunity from injunctive relief”); Robbins v. U.S. Bureau of

Land Management, 438 F.3d 1074, 1080 (10th Cir. 2006) (“We have recognized that [the language

in Section 702] ‘waive[s] sovereign immunity in most suits for nonmonetary relief’ against the

United States, its agencies, and its officers” (quoting Simmat v. U.S. Bureau of Prisons, 413 F.3d

1225, 1233 (10th Cir. 2005)); Jaffee v. United States, 592 F.2d 712, 718 (3d Cir. 1979), cert.

denied, 441 U.S. 961 (1979) (“Congress amended section 702 with a specific purpose of waiving

sovereign immunity in equitable actions brought under section 1331”); Cabrera v. Martin, 973

F.2d 735, 741 (9th Cir. 1992) (“Contrary to the assertions of the federal defendants, this Court

has repeatedly found that § 702 waives the sovereign immunity of the United States with respect

to any action for injunctive relief under 28 U.S.C. § 1331” (emphasis in original)).

        Defendant nevertheless asserts, contrary to Tenth Circuit precedents, that the waiver of

immunity does not apply, and that the United States may not be named as a defendant, unless the

claim involves agency action or inaction. Even if this Court agrees that agency action is required,

Defendant’s assertion that “the FCC is not charged with enforcing Section 704,” and that


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therefore no “agency” has done anything involving Plaintiffs, is incorrect. As noted under

Factual Background of Section 704, supra, Section 704 charges the FCC with enforcing 47

U.S.C. § 332(c)(7)(B)(iv), including adjudicating complaints by telecommunications companies

alleging its violation; the FCC has adopted verbatim the language of Section 704 into its rules;

and the FCC has recently issued rules, enforcing 47 U.S.C. § 332(c)(7)(B)(iv), which have

greatly relaxed the power limits for millimeter wave emissions while exempting small cells in

the public rights-of-way from the requirements of NEPA. Plaintiffs’ injuries are caused both

directly by Section 704 and by its enforcement by the courts and the FCC as authorized under 47

U.S.C. § 332(c)(7)(B)(v). To eliminate any question about sovereign immunity or the absence of

a necessary party, Plaintiffs request that the Court grant Plaintiffs leave to amend their complaint

to add the Federal Communications Commission as a party defendant.

III.    Section 704 Deprives Plaintiffs of Life, Liberty and Property without Due Process of
        Law

        By asserting that Plaintiffs are not being deprived of the rights to “marriage or

procreation,” the United States is attempting to make the Court forget that Plaintiffs are being

deprived of rights that are much more serious: the right to travel, the right to bodily integrity, the

right to live in their own homes, the right to life itself. Plaintiffs’ substantive due process claim is

anything but “cursory.” It is the very heart of their Complaint. It is their first cause of action

against the City and the New Mexico Attorney General. FAC ¶¶ 59-66. And it is their first cause

of action against the United States about the constitutionality of Section 704. FAC ¶¶ 154-158.

        The “right to life itself” is the most fundamental of all rights; it is “the right which

comprehends all others,” Screws v. United States, 325 U.S. 91, 133 (1945), and is “entitled to

Fourteenth Amendment protection.” Roe v. Wade, 410 U.S. 113, 159 (1973). There can be no


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“rational basis” (Mot. at 22) for governments to be able to cause someone injury or death for

simply living in their home. Plaintiff Firstenberg fled his apartment in Brooklyn within one week

of a cell tower being erected nearby to save his life. FAC ¶ 25. Cell tower radiation has caused

him laryngospasm, heart arrhythmias, and elevated cardiac enzymes, indicating damage to

cardiac and/or skeletal muscle, all of which are life-threatening. FAC ¶ 25.

       Many members of Plaintiff Alliance are environmental refugees, having fled homes after

a cell tower was erected nearby. FAC ¶ 24. One member began having seizures when a cell

tower was erected near her home. Another, a former city planner, hears the radiation, developed

neurological, cardiac and respiratory problems when a tower was erected near her home, and

developed an unusual form of lung cancer. Another, a psychotherapist and artist, was forced to

flee her home for the same reason and became homeless. Another, a psychologist and author,

became homeless for the same reason. Another, a world-class athlete, was homeless for eight

years for the same reason. Another, a physicist at Los Alamos National Laboratory, had to leave

his job for the same reason and almost became homeless. Radiation from cell towers has cost

these people their property, their liberty, their livelihood, and nearly their lives. FAC ¶ 24.

       The acute effects of RF radiation—among them headaches, dizziness, nausea, eye pain,

insomnia, tachycardia, hypertension, irregular heartbeat, anxiety, depression, memory loss,

nosebleeds, digestive problems, and ringing in the ears—have driven an estimated 20 million

people from their homes worldwide and have created a large class of environmental refugees.

FAC ¶ 36. “[A]n individual's decision to remain in a public place of his choice is as much a part

of his liberty as the freedom of movement inside frontiers.” City of Chicago v. Morales, 527 U.S.

41, 54 (1999). The rights of Plaintiffs not only to remain in public places, but to remain in their



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own home or their own city has been denied them. FAC ¶¶ 23-27, 62, 74, 122.

       This set of facts involving prior, ongoing, and imminent physical and constitutional

injuries are all incorporated by reference into the Eighteenth Cause of Action for violation of

substantive due process. FAC ¶ 154.

       Defendant admits that all this is the result of deliberate federal policy, and that Section

704 was enacted to “‘encourage the rapid deployment of new telecommunications technologies”

and to “limit the ability of state and local governments to frustrate [this] purpose.’” Mot. at 3

(quoting 360 degrees Commc’ns, 211 F.3d at 86). It is precisely Section 704 that has cost so

many people, including Plaintiffs, their liberty, property and lives. Moreover, Defendant has

known for at least fifty years that the expansion of wireless technology would endanger Plaintiffs

and their environment. FAC ¶ 1, 16-19. Deliberate indifference to plaintiffs’ rights establishes a

substantive due process claim in cases where a state actor has sufficient time to deliberate. Green

v. Post, 574 F.3d 1294, 1301 (10th Cir. 2009). The purpose behind the policy does not absolve

Defendant of liability. “The Due Process Clause ‘guarantees more than fair process.’ … In its

substantive mode, [it] provides protection against arbitrary and oppressive government action,

even when taken to further a legitimate governmental objective.” Seegmiller v. LaVerkin City,

528 F.3d at 766-67 (quoting Washington v. Glucksberg, 521 U.S. at 719).

       Contrary to the assertion of Defendant (Mot. at 22), the fundamental right to bodily

integrity is also implicated. There is no question, and no debate within the scientific community,

that radio waves emitted from cell towers go through walls, into houses and into human bodies.

FAC ¶ 36. There is overwhelming medical and scientific evidence, alleged with particularity in

the complaint and amounting to over 10,000 peer-reviewed studies, that after entering human



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bodies these waves cause acute and chronic injury and create disease. FAC ¶¶ 11-20, 24-27, 36.

Clearly, this is an invasion of bodily integrity. If the United States wishes to dispute that or other

facts about electromagnetic radiation, a trial and not a motion to dismiss is the means to do so.

       In a quartet of cases that bear similarities to the present case, citizens of Flint, Michigan,

poisoned by lead in their water, alleged a state-created danger in violation of substantive due

process. They alleged the state had violated their fundamental interest in bodily integrity. The

Michigan Court of Appeals, Michigan Court of Claims, and Sixth Circuit all agreed that the right

to bodily integrity is a protected liberty interest and that the plaintiffs had pleaded a plausible

Substantive Due Process violation. Mays v. Snyder, 916 N.W.2d 227 (Mich.App. 2018); Mays v.

Snyder, No. 16-000017-MM (Mich. Ct. Cl. Oct. 26, 2016); Guertin v. Michigan, 912 F.3d 907

(6th Cir. 2019). In another case, the Sixth Circuit reversed the district court’s dismissal for lack

of subject matter jurisdiction and remanded for full consideration of the merits of the plaintiffs’

constitutional claims. Boler v. Earley, 865 F.3d 391, 414 (2017).

       The constitutional right to bodily integrity is long-established. Union Pac. Ry. Co. v.

Botsford, 141 U.S. 250, 251 (1891); Albright v. Oliver, 510 U.S. 266, 272 (1994); Missouri v.

McNeely, 569 U.S. 141, 159 (2013). Plaintiffs contend that this includes the freedom to live or

work in a particular home or place and carry on the activities of life without one’s health being

harmed and one’s life being threatened, not only by lead in city water but by electromagnetic

radiation from city-authorized cell towers placed in close proximity to homes and businesses.

IV.    Section 704 Is an Unconstitutional Burden on Speech

       The United States mischaracterizes what Section 704 does. It does not just prohibit local

governments from considering speech about health, it also penalizes such speech. It reads:



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       No State or local government or instrumentality thereof may regulate the placement,
       construction, and modification of personal wireless service facilities on the basis
       of the environmental effects of radio frequency emissions to the extent that such
       facilities comply with the Commission’s regulations concerning such emissions.

47 U.S.C. § 332(c)(7)(B)(iv) (emphasis added). The next section reads:

       Any person adversely affected by any final action or failure to act by a State or
       local government or any instrumentality thereof that is inconsistent with this
       subparagraph may, within 30 days after such action or failure to act, commence
       an action in any court of competent jurisdiction. The court shall hear and decide
       such action on an expedited basis. Any person adversely affected by an act or
       failure to act by a State or local government that is inconsistent with clause (iv)
       may petition the Commission for relief.

47 U.S.C. § 332(c)(7)(B)(v) (emphasis added). Based on this language, if local officials or

citizens express their concerns about environmental or health effects at a zoning board hearing,

and the board denies the request to construct a telecommunications facility, the telecommunica-

tions provider may appeal to a local court, which will be forced to hear the case on an expedited

basis, or to the FCC. The court or the FCC may overturn the denial and grant the siting request if

a transcript of the hearing reveals that opinions were expressed about the health or environmental

effects of RF radiation. This exact scenario has been played out all over the country, including

here in Santa Fe (FAC ¶ 44), since Section 704 was adopted in 1996. If the public voices their

reasons for opposing a permit for a cell tower, and the permit is denied, Section 704 empowers

the company whose permit is denied to get that decision overturned. If the public simply opposes

the tower but does not give voice to their reasons, the decision will more likely not be overturned.

See T-Mobile Northeast LLC v. Town of Ramapo, 701 F.Supp.2d 446, 460 (S.D.N.Y. 2009):

       [H]ealth concerns played a prominent role in community opposition to the
       application. In Planning Board hearings on July 11, September 12, and October
       17, 2006, town residents repeatedly spoke of their concern that T–Mobile's
       proposed facility would create a health hazard. (See R. at 00231, 00256, 00315.)



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       The Court has no trouble concluding that the Town's decision was at least partly
       based on the environmental effects of the proposed tower's radio frequency
       emissions… T–Mobile is entitled to summary judgment on this claim.

See also Cellular Telephone Co. v. Town of Oyster Bay, 166 F.3d 490, 495 (2nd Cir. 1999):

       A review of the record before us of the two hearings reveals that the bulk of the
       testimony addressed citizens’ fears of adverse health effects from the cell sites…
       [W]hen the testimony is almost exclusively directed to health effects, there must
       be substantial evidence of some legitimate reason for rejecting the applications to
       avoid the conclusion that the denials were based on the impermissible health
       effects ground.

Under Section 704, it is in the concerned citizen’s or board member’s best interest not to express

their true opinions because their speech about the health effects of telecommunications facilities

is punished by the approval of those very telecommunications facilities.

       The Supreme Court held a Florida “right to reply” statute unconstitutional for similar

reasons:

       Faced with the penalties that would accrue to any newspaper that published news
       or commentary arguably within the reach of the right-of-access statute, editors
       might well conclude that the safe course is to avoid controversy.

Miami Herald Pub. Co. v. Tornillo, 418 U.S. 241, 257 (1974). Similarly here: faced with the

penalties (i.e. approval of a cell tower that they oppose) that would result from speech about

health in a public hearing, the public might well conclude that the safe course is to keep silent.

See also Turner Broadcasting System v. FCC, 512 U.S. 622, 641-42 (1994):

       The First Amendment, subject only to narrow and well understood exceptions,
       does not countenance governmental control over the content of messages
       expressed by private individuals… Our precedents thus apply the most exacting
       scrutiny to regulations that suppress, disadvantage, or impose differential
       burdens upon speech because of its content.

(emphasis added).

       Defendant’s reliance on the Supremacy Clause is misplaced. The Supremacy Clause does


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not confer any powers on Congress. “Preemption is based on the Supremacy Clause, and that

Clause is not an independent grant of legislative power to Congress... [I]n order for [a federal

law] to preempt state law, it must satisfy two requirements. First, it must represent the exercise

of a power conferred on Congress by the Constitution.” Murphy v. Nat’l Collegiate Athletic

Ass’n, 138 S. Ct. 1461, 1479 (2018). It is the Commerce Clause which confers on Congress the

authority to regulate telecommunications. FCC v. League of Women Voters, 468 U.S. 364, 376

(1984). But that authority is constrained by the First Amendment.

       “Congress exercises its conferred powers subject to the limitations contained in
       the Constitution. Thus, for example, under the Commerce Clause, Congress may
       regulate publishers engaged in interstate commerce, but Congress is constrained
       in the exercise of that power by the First Amendment.”

New York v. United States, 505 U.S. 144, 156 (1992).

       In Initiative & Referendum Inst. v. Walker, 450 F.3d 1082, 1100 (10th Cir. 2006), cited

by Defendant, the Court found “no authority for the suggestion that ‘limits on legislative

authority—as opposed to limits on legislative advocacy—violate the First Amendment” (quoting

Marijuana Policy Project v. United States, 304 F.3d 82, 85 (D.C. Cir. 2002) (emphasis added). It

is precisely the limits on regulatory advocacy contained in Section 704—akin to the “legislative

advocacy” referred to in Marijuana Policy—that violate the First Amendment. Section 704

ensures that if the public dares to advocate for their own protection they will be penalized for it.

V.     Section 704 Restricts the First Amendment Right to Petition

       Contrary to Defendant’s assertion, the right to petition is much broader than the right to

speech. “The right to petition for the redress of grievances has an ancient history and is not

limited to writing a letter or sending a telegram to a congressman; it is not confined to appearing

before the local city council, or writing letters to the President or Governor or Mayor.” Adderley


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v. Florida, 385 U.S. 39, 49-50 (1966). Plaintiffs’ right-to-petition claim encompasses much more

than speech. Plaintiffs allege: “Section 704 deprives people of the right to testify about such

injury, and deprives their local governments of the power to protect them from the injurious

effects of RF radiation. Section 704 deprives people injured, sickened, and/or killed by such

radiation of access to state courts for redress for their injuries, and provides them no substitute

federal remedy.” FAC ¶ 78. See cases cited in Factual Background section, supra: Stanley v.

Amalithone; Robbins v. New Cingular; Jasso v. Citizens Telecom.; Goforth v. Smith, all of which

dismissed state tort claims against the owners or operators of cell towers on the basis of either

conflict preemption or express preemption. See also Farina v. Nokia, 625 F.3d 97, 125 (3rd Cir.

2010), cert. denied, 565 U.S. 928 (2011) (“Allowing juries to impose liability on cell phone

companies for claims like Farina's would conflict with the FCC's regulations”); Pinney v. Nokia,

402 F.3d 430, 454-55 (4th Cir. 2005), cert. denied, 546 U.S. 998 (2005) (implying that tort

claims against operators of cell towers would be expressly preempted).

       In particular, the Supreme Court has confirmed that “‘the right of access to courts for

redress of wrongs is an aspect of the First Amendment right to petition the government.’”

Borough of Duryea v. Guarnieri, 564 U.S. 379, 387 (2011) (citing Sure-Tan, Inc. v. NLRB, 467

U.S. 883, 896-897 (1984) ; BE & K Constr. Co. v. NLRB, 536 U.S. 516, 525 (2002); Bill

Johnson's Restaurants, Inc. v. NLRB, 461 U.S. 731, 741 (1983); and California Motor Transport

Co. v. Trucking Unlimited, 404 U.S. 508, 513 (1972)).

       Contrary to the assertions of the United States, and as already noted, a rulemaking

procedure is not a judicial proceeding and the right to petition the FCC for a rule is not the same

as access to the courts. Plaintiffs are not asking for “different radio-frequency regulations” (Mot.



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at 21), they are asking to be restored their rights to go to court to seek recompense for their

injuries. Neither Congress nor the FCC awards damages for injury, no matter how lax or

stringent the regulations. An individual may petition the FCC to require an Environmental

Assessment to be prepared, 47 C.F.R. § 1.1307(c), or to deny an application for a wireless

facility, 47 C.F.R. § 1.1313(a). But no statute or regulation allows anyone to petition to have a

facility removed if they are being injured by it.

       Plaintiffs’ allegation that to prohibit States and local governments from providing any

remedy for their injury by RF radiation without providing a substitute federal remedy violates the

Fifth Amendment right to Substantive Due Process (FAC ¶ 157) as well as the First Amendment

right of access to courts (FAC ¶ 78) has ample support in Supreme Court jurisprudence. In cases

spanning more than a century, the Supreme Court has consistently questioned whether such a

law would be constitutional, though it has never actually reached the question:

       [Considering whether a New York law violated due process] [I]t perhaps may
       be doubted whether the State could abolish all rights of action on the one hand, or
       all defenses on the other, without setting up something adequate in their stead.

New York Central R.R. Co. v. White, 243 U.S. 188, 201 (1917);

       Here Congress has neither provided nor suggested any substitute for the
       traditional state court procedure for collecting damages for injuries caused by
       tortious conduct… We see no substantial reason for reaching such a result.

United Workers v. Laburnum Corp., 347 U.S. 656, 663-64 (1954);

       The fact that the [National Labor Relations] Board has no authority to grant
       effective relief aggravates the State’s concern since the refusal to redress an
       otherwise actionable wrong creates disrespect for the law….

Linn v. Plant Guard Workers, 383 U.S. 53, 64 n. 6 (1966);

       We need not resolve this question here [whether the Due Process Clause
       requires a substitute federal remedy] since the Price-Anderson Act does, in our


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       view, provide a reasonably just substitute for the common-law or state tort law
       remedies it replaces.

Duke Power Co. v. Carolina Environmental Study Group, Inc., 438 U.S. 59, 88 (1978);

       If the Board is allowed to enjoin the prosecution of a well-grounded state lawsuit,
       it necessarily follows that any state plaintiff subject to such an injunction will be
       totally deprived of a remedy for an actual injury… Considering the First
       Amendment right of access to courts … we conclude that the Board's
       interpretation of the [National Labor Relations] Act is untenable.

Bill Johnson’s Restaurants, Inc. v. NLRB, 461 U.S. 731, 742-43 (1983) (emphasis added);

       It is difficult to believe that Congress would, without comment, remove all means
       of judicial recourse for those injured by illegal conduct.

Silkwood v. Kerr-McGee Corporation, 464 U.S. 238, 251 (1984);

       Medtronic’s sweeping interpretation of the [Medical Device Amendments of 1976]
       would require far greater interference with state legal remedies, producing a serious
       intrusion into state sovereignty while simultaneously wiping out the possibility of a
       remedy for the Lohrs’ alleged injuries… [W]e cannot accept Medtronic’s argument…

Medtronic, Inc. v. Lohr, 518 U.S. 470, 488-89 (1996);

       [I]f such state-law claims are preempted [by the Federal Aviation Administration
       Authorization Act of 1994], no law would govern resolution of a non-contract-
       based dispute arising from a towing company’s disposal of a vehicle previously
       towed or afford a remedy for wrongful disposal… No such design can be
       attributed to a rational Congress.

Dan’s City Used Cars, Inc. v. Pelkey, 569 U.S. 251, 265 (2013). The constitutional questions can

be avoided in the present case as well if this Court rules that “environment” does not mean

“health.” See FAC, Requests for Relief ¶ 18. “‘“When the validity of an act of the Congress is

drawn in question, and even if a serious doubt of constitutionality is raised, it is a cardinal

principle that this Court will first ascertain whether a construction of the statute is fairly possible

by which the question may be avoided.”’” Concrete Pipe & Products of Cal., Inc. v. Constr.

Laborers Pension Tr. for S. Cal., 508 U.S. 602, 629 (1993) (citations omitted).


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       Patchak v. Jewell, 109 F.Supp.3d 152 (D.D.C. 2015), cited by Defendant, is inapposite.

The plaintiff in that case disagreed with a decision of the Secretary of the Interior, and a federal

law, the Gun Lake Act, prohibited any actions related to that decision from being brought in

Federal court. The Gun Lake Act was held not to violate the right of access to courts because he

could petition the “Department of the Interior … to reverse its position,” which is the same relief

he was asking the court for. Id. at 164. By contrast, the FCC is not empowered to provide any

remedy to people injured by cell towers. Only the courts can provide that, and Plaintiffs have

been denied access to them, in violation of the First Amendment.

       Bakay v. Yarnes, 2005 WL 2454168 (W.D.Wash. Oct. 4, 2005), also cited by Defendant,

stands for the opposite of the position for which Defendant, quoting out of context, cited it.

“[T]he right to petition,” ruled the court, “includes the right to petition courts.” Id. at *6. The

court dismissed that case not because there is no constitutional right of access to courts, but

because of malicious prosecution and lack of probable cause. “There is simply not a showing

here sufficient to justify the conclusion that this statute in some way chills the right of access to

the courts.” Id. The question in that case, said the court, was not about access to the courts but

“lack of probable cause and malice.” Id. at *7.

                                         CONCLUSION

       For the above reasons, Plaintiffs respectfully request that the United States’ Motion to

Dismiss be denied. The United States has waived sovereign immunity. Plaintiffs have standing to

bring their claims. Plaintiffs have stated claims upon which relief can be granted. Additionally,

Plaintiffs respectfully request leave of this Court to amend their Complaint to add the Federal

Communications Commission as a party defendant.



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                                                  Respectfully submitted,


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                                 CERTIFICATE OF SERVICE

        I certify that on this date of July 8, 2019, I served the foregoing Opposition on counsel of
record for all parties via the CM/ECF system.


                                              /s/ Adam Cherson
                                              ADAM CHERSON




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